18-22932-rdd       Doc 43       Filed 08/10/18       Entered 08/10/18 11:35:06        Main Document
                                                    Pg 1 of 44


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------x
 In re                                                            :
                                                                  :   Chapter 11
 EMC HOTELS AND RESORTS, LLC,                                     :
                                                                  :   Case No. 18-22932 (RDD)
                                              Debtor.             :
 -----------------------------------------------------------------x




         DECLARATION OF FRED STEVENS, CHAPTER 11 TRUSTEE OF EMC
          HOTELS AND RESORTS, LLC, PURSUANT TO 28 U.S.C. § 1746: (I) IN
            SUPPORT OF THE TRUSTEE’S INITIAL MOTIONS; AND (II)
          CONTAINING INFORMATION REQUIRED PURSUANT TO LOCAL
                         BANKRUPTCY RULE 1007-2
18-22932-rdd         Doc 43          Filed 08/10/18          Entered 08/10/18 11:35:06                        Main Document
                                                            Pg 2 of 44


                                                TABLE OF CONTENTS



	
I.     PRELIMINARY STATEMENT ....................................................................................... 2
II.    INTRODUCTION .............................................................................................................. 3
III.   BACKGROUND ................................................................................................................. 4
        A. The Debtor’s Formation and Construction of the Hotel ....................................... 4
        B. Related Entity – The Bronxville Project ................................................................. 5
        C. Capital Structure – Debt ........................................................................................... 6
           1. Bank Hapoalim B.M. – Senior Secured Lender .............................................. 6
           2. Nyack Hotel Fund LLC – EB-5 Debt – Junior Mortgage Holder ................. 7
           3. ZSC NYLO Fund LLC – Unsecured EB-5 Debt ............................................. 8
           4. BT Hotel Operating LLC - Judgment.............................................................. 8
           5. Property Taxes and Potential Mechanics’ Liens............................................. 9
           6. BCG Ritz Trump, LLC – Potential Liability .................................................. 9
           7. Trade Debt .......................................................................................................... 9
           8. Summary of Currently Identified Liabilities and Potential Liabilities......... 9
        D. Operations ................................................................................................................ 10
           1. Management of the Hotel ................................................................................ 10
           2. Restaurant, Food and Beverage at the Hotel................................................. 14
           3. Insurance .......................................................................................................... 16
        E. Factors Leading to the Instant Bankruptcy Case................................................. 18
IV.    INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1007-2 ............ 20
V.     INITIAL OR “FIRST DAY” MOTIONS ...................................................................... 22
        A. Cash Collateral Motion ........................................................................................... 23
        B. Authority to Continue to Operate Pursuant to Management Agreement ......... 27
        C. Employee Wage Motion .......................................................................................... 27
        D. Critical Vendor Motion........................................................................................... 30
        E. Professional Retentions ........................................................................................... 32
           1. KWJS&S........................................................................................................... 32
           2. CBIZ .................................................................................................................. 33
        F. Utilities Motion ........................................................................................................ 34
        G. Tax Motion ............................................................................................................... 35
VI.    CONCLUSION ................................................................................................................. 36

EXHIBIT A – Twenty Largest Unsecured Creditors

EXHIBIT B – Five Largest Secured Creditors



                                                                  i
18-22932-rdd        Doc 43       Filed 08/10/18       Entered 08/10/18 11:35:06                Main Document
                                                     Pg 3 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

      I, FRED STEVENS, declare, pursuant to section 1746 of title 28 of the United States Code,

as follows:

         1.        I am the Chapter 11 Trustee (the “Trustee”) of EMC Hotels and Resorts, LLC, the

above-captioned debtor (the “Debtor”), which has been a debtor under Chapter 11 of Title 11 of

the Bankruptcy Code since July 20, 2018 (the “Relief Date”). I was appointed as Trustee by

William K. Harrington, United States Trustee for Region 2 (the “U.S. Trustee”) on July 25, 2018

and my appointment was subsequently approved by Order of this Court [Docket No. 34].

         2.       I submit this declaration (the “Declaration”) in support of the various initial motions

(collectively, the “Initial Motions”) submitted by the Trustee at or around the same time as this

Declaration.1 My tenure as Trustee has been short, and accordingly, my knowledge of the Debtor

and its affairs has been accumulated on an expedited basis both personally and with the assistance

of my proposed professionals and existing management. The information contained in this

Declaration is based upon (i) my review or the review of partners or associates of Klestadt Winters

Jureller Southard & Stevens, LLP (“KWJS&S”), my proposed general counsel, or employees of

CBIZ Accounting, Tax & Advisory of New York, LLC (“CBIZ”), my proposed financial advisors,

of certain books and records of the Debtor; (ii) discussions with and information furnished by

alleged owners and principals of the Debtor, the day-to-day operations manager of the Debtor’s

hotel, representatives of HHM Nyack, LLC (the “Manager”), the third-party manager of the hotel,

representatives of BV Grill Nyack, LLC (“BV Grill”)2, the operator of the restaurant and food and



1  The motions characterized as “initial motions” are quite often referred to as “first day motions” based upon the
types of relief being sought. However, given that the relevant motions are being submitted over six weeks after the
June 18, 2018 filing date, and approximately three weeks after the Relief Date, we have characterized the motions as
“initial” rather than “first day.”
2  There is a dispute regarding the actual ownership of BV Grill. The Trustee has not yet taken a position with respect
to the proper ownership and management of BV Grill and accordingly, any statements or references to BV Grill or its
management are not intended to be an admission, concession or waiver by the Trustee of any of the Trustee’s rights
or remedies with respect to same.
                                                          1
18-22932-rdd       Doc 43      Filed 08/10/18      Entered 08/10/18 11:35:06              Main Document
                                                  Pg 4 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

beverage services at the Debtor’s hotel (the “Restaurant”), and representatives of the petitioning

creditors, certain lenders and other creditor groups; and (iii) my opinion based upon my experience

and knowledge.

    I.        PRELIMINARY STATEMENT

         3.      The Debtor owns the Time Nyack Hotel, a 133-room hotel in Nyack, New York (the

“Hotel”) and manages the Hotel through the third-party Manager. The Restaurant is owned by BV

Grill and operates at the Hotel pursuant to a purported lease between BV Grill and the Debtor. The

Restaurant is operated by a third-party affiliated with the popular Bobby Van’s steakhouses in

New York City. The Trustee was appointed amidst significant disputes and litigation between alleged

owners and principals of the Debtor vying for control of the Debtor and its Hotel, and the Debtor and

BV Grill over their relationship.

         4.      Further, upon the Trustee’s appointment, the Debtor’s primary secured financing had

matured without repayment, most vendors were refusing or threatening to refuse service pending

payment, an over-$5.9 million judgment had just been entered against the Debtor in connection with

the termination of a prior management agreement, the Manager had just obtained control over the

Debtor’s operating accounts, BV Grill had not paid rent to the Debtor in months, if ever, while accusing

the Debtor by prior management of usurping funds when prior management controlled common

accounts, and the temporary certificate of occupancy for the Hotel expired or was subject to termination

for failure to take actions required by the Village of Nyack. Right up to the filing of this Declaration,

owners and alleged owners of the Debtor waged a war against one another in the press and in litigation.3




3  Steve Lieberman, TIME Nyack investor fights back vs. ‘smears’ as bankruptcy trustee investigates,
Rockland/Westchester Journal News, Aug. 9, 2018, 11:30 a.m. ET; Available from
https://www.lohud.com/story/news/local/rockland/2018/08/09/time-hotel-investor-costa-fights-back-against-smears-
criminality/935057002/
                                                       2
18-22932-rdd        Doc 43     Filed 08/10/18      Entered 08/10/18 11:35:06         Main Document
                                                  Pg 5 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

          5.      The Trustee’s primary focus since his appointment has been to meet with the key

parties and add stability to the Debtor and its operations so that an appropriate exit strategy can be

determined and employed for the protection of the Debtor, its estate, creditors and all constituencies.

I believe that the relief sought in the Initial Motions is necessary to the Debtor, the Hotel’s operation

and the preservation of the Debtor’s value for the benefit of the estate and creditors.

    II.         INTRODUCTION

          6.      On June 18, 2018 (the “Petition Date”), Evolve Controls, CJB Asset Management

Group LLC, and Consolidated Companies Inc. d/b/a Best Landscape (collectively, the “Petitioning

Creditors”) filed an involuntary petition against the Debtor for relief under chapter 7 of Title 11 of

the United States Code (the “Bankruptcy Code”).

          7.      On June 29, 2018, the Petitioning Creditors filed a Motion for the Appointment of

an Interim Trustee (the “Trustee Motion”) [Docket No. 12], and the Debtor filed a motion to

dismiss the involuntary petition and for abstention (the “Dismissal Motion”) [Docket No. 13].

          8.      On July 15, 2018, the Debtor filed a motion to convert the Debtor’s involuntary

chapter 7 case to a voluntary chapter 11 case [Docket No. 27], which rendered the Dismissal

Motion moot. The motion was granted by Order dated July 20, 2018 (the “Conversion Date”)

[Docket No. 30].

          9.      On the July 20, 2018 Relief Date, this Court entered orders: (i) converting the

Debtor’s involuntary chapter 7 case to a voluntary chapter 11 case [Docket No. 31]; and (ii)

granting the Trustee Motion and directing the United States Trustee to appoint a chapter 11 trustee

[Docket No. 30].

          10.     On July 25, 2018, the United States Trustee appointed me as the chapter 11 trustee

of the Debtor [Docket No. 32], and the Court entered an order approving my appointment [Docket



                                                       3
18-22932-rdd          Doc 43    Filed 08/10/18     Entered 08/10/18 11:35:06       Main Document
                                                  Pg 6 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

No. 34].         On the same date, the Trustee employed KWJS&S to serve as his general counsel and

CBIZ to serve as his financial advisors in the Debtor’s case, subject to the approval of this Court.

           11.      On August 6, 2018, the Court entered an order for relief in the Debtor’s case nunc

pro tunc to the July 20, 2018 Relief Date [Docket No. 40].

    III.         BACKGROUND

                 A. The Debtor’s Formation and Construction of the Hotel

           12.      According to certain parties, the concept for constructing the Hotel was conceived

in or around 2012 by Michael Yanko (“Yanko”) and Howard Dean (“Dean”). Trustee Motion, ¶4.

           13.      The Debtor is a limited liability company formed under the laws of the State of

New York on or around January 10, 2014. The Debtor’s name has changed at least twice from

NYLO Nyack LLC to WY Time Hotel, LLC (the “WY” standing for Wellington-Yanko) on July

14, 2015 and then to its current name, EMC Hotels and Resorts LLC (the “EMC” standing for

Edgar M. Costa), on March 19, 2018. The Debtor was formed for the purpose of acquiring

property at 400 High Avenue, Nyack, New York and developing the Hotel. Trustee Motion, ¶4.

           14.       EMC Real Estate Holdings, LLC, f/k/a Key Real Estate Holdings, LLC

(“Holdings”) is a limited liability company formed under the laws of the State of New York on or

around April 22, 2014. Holdings became the majority owner of the Debtor and was or is owned

by some combination of Donald F. Wellington and Kerry P. Wellington (collectively, the

“Wellingtons”), Yanko and Edgar M. Costa (“Costa”). However, Holdings’ ownership interest in

the Debtor was pledged to certain creditors as more fully set forth below. The current ownership

of Holdings, or the manner by which current ownership was obtained, is very much in dispute.

See e.g., Donald F. Wellington and Kerry P. Wellington v. Edgar Melo Costa, Index No.

155822/2018 (N.Y.S. Sup. Ct. Jul. 19, 2019), Complaint at Docket No. 2 (the “Wellington



                                                       4
18-22932-rdd        Doc 43       Filed 08/10/18       Entered 08/10/18 11:35:06                 Main Document
                                                     Pg 7 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

Complaint”). The minority interest in the Debtor is owned by HD DEV NYLO, LLC, a New York

limited liability company which was formed on or around April 28, 2014 by Dean.

         15.      The construction of the Hotel was financed primarily with borrowed funds as set

forth more fully below and the Hotel was opened for business in or around May 2016.4

               B. Related Entity – The Bronxville Project

         16.      On or around June 10, 2013, EMC Bronxville Metropolitan LLC, f/k/a MetLoft

Bronxville, LLC (the “Bronxville Debtor”) was formed as a New York State limited liability

company to develop a condominium project in Bronxville, New York. Given its close relationship

with the Debtor, some discussion of the Bronxville Debtor is required.

         17.      The Wellingtons, among possibly other individuals connected with the formation

of the Debtor and construction of the Hotel, became owners of and/or investors in the Bronxville

Debtor. Trustee Motion, ¶8.

         18.      Although it remains subject to a thorough future investigation by the Trustee, the

Bronxville Debtor appears to share owners, managers and creditors with the Debtor. Among other

things, Costa asserts ownership and control of the Bronxville Debtor, which ownership and control

is part of the same dispute as Costa’s ownership of the Debtor. See Wellington Complaint.

         19.      On June 22, 2018, certain creditors filed an involuntary petition for relief under

chapter 7 of the Bankruptcy Code against the Bronxville Debtor in this Court. See In re EMC

Bronxville Metropolitan LLC, Debtor, Case No. 18-22963 (RDD) (Bankr. S.D.N.Y. June 22,

2018) (the “Bronxville Case”). Upon the Bronxville Debtor’s motion, the Bronxville Case was

converted to a voluntary chapter 11 case on July 23, 2018. The petitioning creditors in the




4 Certain parties, including Donald F. Wellington, assert that they invested significant equity capital into the Debtor
as well.
                                                          5
18-22932-rdd       Doc 43      Filed 08/10/18      Entered 08/10/18 11:35:06     Main Document
                                                  Pg 8 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

Bronxville Case are currently seeking the appointment of a trustee for the Bronxville Debtor with

a motion returnable before this Court on September 13, 2018 at 10:00 a.m.

        20.      Both the Debtor and the Bronxville Debtor: (i) were or are being run by Costa; (ii)

are the subject of significant disputes between the Wellingtons and Costa; and (iii) are represented

by Rattet PLLC. Further, the petitioning creditors in both cases are represented by The Sarachek

Law Firm.

              C. Capital Structure – Debt

        21.      At the time of making this Declaration, the Debtor has not filed schedules and the

Trustee has not located reliable books and records for most of the Debtor’s operations that are not

available through the Manager. The Trustee is still working diligently with his professionals to

determine exactly how much debt the Debtor has. The Petitioning Creditors estimate the debt to

be “over $30,000,000 . . . , including $600,000 owed to trade creditors.” Trustee Motion, ¶10.

Notwithstanding the difficulty in understanding the Debtor’s capital structure, I have reviewed the

lending documents of the primary secured lenders in connection with the relief sought by the Initial

Motions and all other available documents.

                              1. Bank Hapoalim B.M. – Senior Secured Lender

        22.      On June 9, 2016, the Debtor, as Borrower, and Bank Hapoalim B.M. (“BHI”), as

Lender, entered into a certain Loan Agreement (the “BHI Loan Agreement), wherein BHI agreed

to loan to the Debtor an amount up to nineteen million dollars ($19,000,000). On the same date,

the Debtor issued to BHI a Consolidated, Amended and Restated Promissory Note (the “BHI

Promissory Note”) in the amount of $19,000,000 with interest accruing at the LIBOR Rate, plus

five and fifteen one-hundredths percent (5.15%) per annum. On the same date, the Debtor, as

Mortgagor, and BHI, as Mortgagee, entered into a Consolidated, Spreader Amended and Restated

Mortgage, Assignment of Leases and Rents and Security Agreement (the “Mortgage and Security
                                                       6
18-22932-rdd       Doc 43      Filed 08/10/18      Entered 08/10/18 11:35:06   Main Document
                                                  Pg 9 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

Agreement”), wherein the Debtor granted to BHI liens and security interests (the “BHI Prepetition

Liens”) in substantially all of its assets (the “BHI Pre-Petition Collateral”), including without

limitation its cash (the “Cash Collateral”).

        23.      BHI estimates the current amount owed to BHI to be around $18.7 million, but with

a full reservation of rights. The BHI Loan matured by its terms on or around December 9, 2017.

                              2. Nyack Hotel Fund LLC – EB-5 Debt – Junior Mortgage Holder

        24.      The Debtor also borrowed approximately $10 million in principal under a program

called EB-5 which encourages foreigners to invest in the United States and create American jobs

in exchange for U.S. green cards (the “EB-5 Loans”). $2 million of the $10 million principal in

EB-5 Loans was borrowed from Nyack Hotel Fund LLC (“Nyack Hotel Fund”) and is secured by

a mortgage against the Hotel that is expressly subordinate to BHI’s rights under the Mortgage and

Security Agreement as set forth below.

        25.      Pursuant to the terms, provisions and conditions set forth in that certain Loan

Agreement dated as of July 15, 2015 (“Nyack Hotel Fund Loan Agreement”) executed by the

Debtor, as Borrower, and Nyack Hotel Fund, Nyack Hotel Fund has made a loan to the Debtor in

the aggregate principal amount of two million dollars ($2,000,000.00) (the “Nyack Hotel Fund

Loan”).

        26.      The Nyack Hotel Fund Loan is evidenced by that certain Promissory Note dated as

of September 10, 2015, made payable by the Debtor, as Maker, to Nyack Hotel Fund, as Payee, in

the aggregate original principal amount of two million dollars ($2,000,000.00) (the “Nyack Hotel

Fund Note”), and it is secured by, among other things, that certain Mortgage, dated as of September

10, 2015 made by the Debtor, as Mortgagor, and Nyack Hotel Fund, as Mortgagee, encumbering

the Hotel (the “Nyack Hotel Fund Prepetition Liens”). The Trustee does not believe that Nyack

Hotel Fund holds a lien on the Debtor’s Cash Collateral, or if it does as proceeds of the property
                                                       7
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06        Main Document
                                             Pg 10 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

subject to the Nyack Hotel Fund Prepetition Liens, it is expressly subordinated to BHI as set forth

below.

         27.     On June 9, 2016, BHI, as Senior Lender, and Nyack Hotel Fund, as Subordinated

Lender, entered into a certain Subordination and Intercreditor Agreement whereby Nyack Hotel

Fund agreed to subordinate the Nyack Hotel Fund Note and the Nyack Hotel Fund Prepetition

Liens to the BHI Note and BHI’s Prepetition Liens and agreed that it would not enforce any of its

rights until the BHI Note is paid in full.

         28.     According to Nyack Hotel Fund, it is owed approximately $2,414,152.78 on the

Nyack Hotel Fund Loan as of July 1, 2018.

                              3. ZSC NYLO Fund LLC – Unsecured EB-5 Debt

         29.     The remaining $8 million of the $10 million principal EB-5 Loans was borrowed

from ZSC NYLO Fund LLC (“ZSC”) and is secured by Holdings’ membership interest in the

Debtor. According to ZSC, it is owed approximately $11,162,300 on its EB-5 loan as of July 1,

2018. All aspects of both parts of the EB-5 Loans are expressly subordinated to the BHI Loan and

BHI’s rights.

                              4. BT Hotel Operating LLC - Judgment

         30.     BT Hotel Operating LLC (“BT Hotel”) obtained an arbitrators’ award against the

Debtor in the amount of $2,790,400 in damages and $2,947,939.73 in fees and expenses for a total

of $5,926,934.54, plus interest, in connection with the termination of a contract pursuant to which

BT Hotel was to operate and manage the Hotel. See BT Hotel Operating LLC v. WYINC

Development LLC, et al., Case No. 01 15 0003 4966 (Amer. Arb. Assoc. 2018). The record of the

BT Hotel arbitration has been sealed. The BT Hotel obtained a judgment on account of its award

and filed it with the Rockland County Clerk on May 11, 2018.



                                                       8
18-22932-rdd           Doc 43       Filed 08/10/18 Entered 08/10/18 11:35:06                       Main Document
                                                  Pg 11 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

                                  5. Property Taxes and Potential Mechanics’ Liens

           31.      A title search dated April 11, 2018 shows: (A) outstanding property taxes of at least

$362,286.04; and (B) the following mechanic’s liens: (i) Millennium Karnes, Ltd. - $411,863.28;

(ii) Flex-Wall Systems of New York, Inc. - $6,670.30; (iii) Expressive Lighting Inc. - $17,256.96;

(iv) Evolve Guest Controls, LLC - $82,344.73; and (v) McClosky Purchasing Group Ltd. -

$55,919.50. It is unclear if any of the mechanics’ liens are valid and outstanding.

                                  6. BCG Ritz Trump, LLC – Potential Liability

           32.      The Trustee has also located a partially signed loan agreement dated July 2016

where the Debtor and the Bronxville Debtor are co-debtors on a $6.5 million principal loan from

BCG Ritz Trump, LLC. The extent, validity and priority of this obligation, if any, has not been

determined.

                                  7. Trade Debt

           33.      From the information presently available, the Trustee estimates that trade payables

are approximately $1 million, including over $500,000 owed to the Manager for management fees.

                                  8. Summary of Currently Identified Liabilities and Potential
                                     Liabilities

           34.      The following is a summary of the Debtor’s liabilities or potential liabilities as

currently known to the Trustee:

      Creditor or           Approximate      Collateral, If Any5                                Notes
    Creditor Group         Indebtedness or
                              Potential
                            Indebtedness
    Rockland County            Not less than First priority lien on         Based upon an April 2018 title report –
    / Town of                  $362,286.04 all real property                expected that additional unpaid taxes
    Orangetown /                                                            have accrued
    Village of Nyack




5    The Trustee full reserves his right to contest the extent, validity and priority of any claim, lien or encumbrance.
                                                             9
18-22932-rdd        Doc 43        Filed 08/10/18 Entered 08/10/18 11:35:06                      Main Document
                                                Pg 12 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

 BHI                       $18,700,000.00 Generally all real              Loan matured on or around December
                                          estate, personal and            9, 2017
                                          intangible property
                                          of Debtor

 Nyack Hotel                $2,414,152.78 Real property and all Loan and security expressly subordinate
 Fund LLC                                 proceeds thereof      to BHI

 ZSC NYLO Fund             $11,162,300.00 No collateral interest          Expressly subordinate to BHI
 LLC                                      in Debtor property;
                                          secured by
                                          Holdings’ equity in
                                          Debtor

 BT Hotel                   $5,926,934.54 Real Property by                Judgment filed on or around May 11,
 Operating LLC                            Judgment Lien                   2018 and to the extent valid, is believed
                                                                          to be avoidable pursuant to 11 U.S.C.
                                                                          §547

 BCG Ritz Trump             $6,500,000.00 No collateral interest          Bronxville Debtor is co-debtor.
                                          in Debtor property;             Unclear present status of indebtedness
                                          secured by                      or whether Debtor is or should be liable
                                          Holdings’ equity in
                                          Debtor

 Trade Creditors            $1,000,000.00 None                            Subject to full investigation.6


Based upon the foregoing, the Debtor’s pre-petition obligations may be in excess of $45 million.

               D. Operations

                                1. Management of the Hotel

         35.      On or around, May 22, 2015, the Debtor entered into a contract (together with

amendments dated July 14, 2015 and July 6, 2018, the “Management Agreement”) with the

Manager, an affiliate and/or subsidiary of Dream Hotel Group, LLC, owners and/or operators of

the Dream Hotels in New York City, South Beach, Hollywood, Phuket and Bangkok, The Time

New York, the Unscripted Durham, the Night Times Square and Night Theater District, and a




6 Certain of these creditors may be entitled to administrative priority under 11 U.S.C. §503(b)(9) or security interests
under New York State mechanics’ lien or trust funds under Article 3-A of the New York Lien Law.
                                                          10
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06               Main Document
                                             Pg 13 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

number of other hotels.        At inception, the Management Agreement provided for Manager to

manage the construction of the Hotel.

        36.      Pursuant to the Management Agreement, the Manager manages the Hotel and uses

its brand, trademarks and intellectual property, including “THE TIME” name in connection with

the operation. The Manager is entitled to a number of fees and reimbursements in connection with

its services but had not been paid pursuant to the Management Agreement for a significant period

prior to the Relief Date and asserts that it is owed more than $544,000 in connection with its prior

management and pre-opening and design review services.

        37.      Among others, the Management Agreement includes the following salient terms:7

              a. Appointment as Exclusive Manager - The Manager is appointed as the exclusive
                  manager to manage the Hotel. The Manager has exclusive supervision, control
                  and discretion in, and responsibility for, the management, maintenance and
                  operation of the Hotel. Management Agreement, §3.1.
              b. Term – Twenty (20) full calendar years after opening in 2016 (i.e., through
                  December 31, 2036) with the right of both parties to extend the term for two
                  consecutive five-year periods. Id. §2.6.
              c. Limitations on Manager – Manager may not unilaterally: (i) enter into certain
                  contracts that obligate the Debtor for more than one year (that cannot be cancelled
                  on 90 days’ notice) or for more than $50,000; (ii) enter into agreements with others
                  to conduct commercial activity on the Hotel premises; (iii) hire lawyers,
                  accountants or other professionals for the Debtor; (iv) prosecute or defend disputes
                  on the Debtor’s behalf where the amount in controversy is more than $50,000 and
                  as to which insurance has denied coverage; or (v) borrow money on behalf of
                  Debtor except regular trade payables. Id. §3.1(b).
              d. Working Capital – The Debtor is obligated to maintain sufficient funds in its
                  operating accounts for the conduct of business and repairs and maintenance of the


7 This is intended as a summary only and parties wishing to have a complete understanding of the Management
Agreement should refer to the Management Agreement itself and not rely upon this summary.
                                                      11
18-22932-rdd         Doc 43       Filed 08/10/18 Entered 08/10/18 11:35:06                        Main Document
                                                Pg 14 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

                   Hotel. The Manager’s operation of the Hotel is done at the Debtor’s expense. Id.
                   §§3.4-3.5.
               e. Employment of Personnel – Manager has the sole and exclusive right to recruit,
                   hire, promote, discipline, discharge, supervise, direct, train, transfer and determine
                   the terms of employment of the Debtor’s employees involved in the operation of
                   the Hotel. Id. §4.1.
               f. Routine Repairs and Maintenance – Manager, at the expense of Debtor, shall
                   perform routine repairs and maintenance at the Hotel in order to maintain and
                   operate the Hotel in good working order and condition. Id. §5.1.
               g. Books and Records; Operating Accounts – Manager shall keep full and adequate
                   books of account and records relating to or reflecting the results of operation of
                   the Hotel. Id. §6.2.
               h. Monthly Reports – Manager is required to provide monthly reports to the Debtor
                   regarding the operation of the Hotel.8 Id. §6.5.
               i. Management Fees – Among others, the Manager is entitled to a “Base Fee” equal
                   to three (3%) percent of the total operating revenue9 for the first twenty-four (24)
                   months after the opening of the Hotel, and three and one-half percent (3.5%)
                   thereafter; and an “Incentive Fee” equal to a ten percent (10%) of the amount
                   where gross operating profit10 exceeds what was budgeted during the first two
                   years of operation of the Hotel and twenty percent (20%) thereafter, and a “Brand
                   Marketing Fee” of one and one-half (1½%) of total operating revenue
                   (collectively, the “Management Fees”). Id. §7.1.
               j. Insurance – The Debtor is responsible for and required to maintain adequate
                   insurance, and for paying the costs and expenses of Manager for any insurance for
                   which the Manager is responsible or which the Manager may obtain on behalf of
                   the Debtor. Id. §§8.1; 8.5.


8   The Trustee has received daily reports from the Manager since his appointment.
9  Total Operating Revenue includes all revenues, receipts and income of every kind derived from operation of the
Hotel, but excludes certain items, such as excise and sales tax, insurance proceeds, recoveries in legal actions, proceeds
from financing or sale of the Hotel, rebates, discounts and credits.
10 Gross Operating Profit means, for any period, the excess of Total Department Profit, as that term is in Uniform
System of Accounts for the Lodging Industry, as adopted by the American Hotel & Lodging Association (“Uniform
Systems of Accounts”), over Total Undistributed Expenses, as that term is used in the Uniform Systems of Accounts.
                                                           12
18-22932-rdd        Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06                    Main Document
                                              Pg 15 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

              k. Indemnities – Manager indemnifies the Debtor for any liabilities caused by its
                  gross negligence or willful misconduct. The Debtor indemnifies the Manager for
                  any liabilities of Debtor and any liabilities arising out of or incurred in connection
                  with the construction, renovation, ownership, condition, management or operation
                  of the project, whenever arising, except to the extent of Manager’s indemnity
                  obligation. Id. §§9.1-9.2.
        38.      On July 6, 2018, after the Petition Date, but prior to entry for an order of relief, the

Debtor and the Manager executed a letter agreement, which confirmed the pre-existing contractual

rights of Manager under the Management Agreement and acknowledged that the Manager would

have sole control over the Debtor’s credit card relationships and operating accounts at T.D. Bank,

N.A. (the “Operating Accounts”). Upon information and belief, this amendment was prompted by

the Debtor’s failure to pay certain necessary vendors and other parties which significantly

disrupted the Manager’s ability to manage the Hotel pursuant to the Management Agreement.

Since the Trustee’s appointment, the Debtor’s Operating Accounts controlled by the Manager have

been modified to require the Trustee’s signature on each check and the Trustee’s authorization for

each funds transfer. Further, the Trustee has established his own Trustee accounts at Rabobank

through BMS to house any excess funds from the Operating Accounts and any other funds

recovered by the Trustee on behalf of the Debtor and its estate.

        39.      The Trustee intends to continue to employ Manager’s services under the

Management Agreement and to compensate the Manager for such services rendered after the

Relief Date pursuant to the Management Agreement. The Trustee believes that the Management

Fees are reasonable and at or below-market for the hotel industry.11


11   The Trustee reviewed the average costs for management, franchise and brand affiliation costs for twenty-five
midscale and upper-midscale hotel brands and nineteen upscale hotel brands for 2016/17 in the United States. The
cost of such brand affiliations and services were between 12.4% and 14.1% of rooms revenue for upscale brands like
Hilton, Marriott and Doubletree, and between 4.4% and 12.9% for midscale brands like Best Western, Ramada Inn
and Candlewood Suites. While a franchise agreement is not identical to the Management Agreement, and not all
brands are comparable, it provided the Trustee with a good idea of what it would cost to employ a known alternative
                                                        13
18-22932-rdd        Doc 43        Filed 08/10/18 Entered 08/10/18 11:35:06                      Main Document
                                                Pg 16 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

                                2. Restaurant, Food and Beverage at the Hotel

         40.      The Trustee has located and identified a lease, dated December 22, 2015, between

the Debtor and BV Grill (the “BV Grill Lease”). The BV Grill Lease provides generally, among

other things, the following:

              Property Leased – BV Grill has use of the Hotel and Restaurant and bars for the purpose

               of providing food and beverages to the Hotel’s guests and other patrons.

              Term – 10 years with two options for 5-year extensions commencing February 1, 2015.

              Rent - $900,000 annual rent, with $75,000 payments due monthly.

              Insurance – BV Grill is required to maintain general public liability insurance in

               standard form in favor of the Debtor and in an amount acceptable to the Debtor. Proper

               insurance is also required of any third party operators installed by BV Grill.

         41.      BV Grill entered into a contract, dated October 30, 2015 (the “BV Grill

Management Contract”), with STK Restaurant Corp., as Manager, and Joseph Smith, as Licensor,

who are affiliated with the Bobby Van’s steakhouses in and around New York City, to manage the

BV Grill. The Debtor is not a party to that contract. Interestingly, the BV Grill Management

Contract predates the BV Grill Lease by approximately two months even though it specifically

references the existence of a BV Grill Lease. The BV Grill Management Contract further makes

reference to the management of a rooftop lounge, which has not been constructed and was not

addressed in the BV Grill Lease.




to the Manager. Here, the Management Agreement calls for a Base Fee of 3.5% plus a marketing fee of 1.5% for a
total fixed fee of 5.0% of total revenues for the Hotel and Restaurant, plus the Incentive Fee of 20% of only the amount
that the Manager is able to do better than what is budgeted. To the extent that the Incentive Fee can even be calculated
and is ever earned, which is doubtful given the Debtor’s financial crisis, the Management Agreement calls for
payments of only 5.0%, less than one-half of the average franchise and management fees for other Upscale brands.
                                                          14
18-22932-rdd        Doc 43       Filed 08/10/18 Entered 08/10/18 11:35:06                      Main Document
                                               Pg 17 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

         42.      The BV Grill Lease was signed by Yanko on behalf of the Debtor, and by his then-

spouse, Kerry Wellington, on behalf of BV Grill. BV Grill is owned and managed by some

combination of the Wellingtons, Dean and John Krupa. BV Grill maintains that the BV Grill Lease

is a valid lease although it contests certain aspects of it.

         43.      There are numerous issues that exist between the Trustee/Debtor and BV Grill. To

name just a few, the following issues and disputes currently exist: (i) whether BV Grill is not truly

separately owned but a subsidiary of the Debtor (an issue raised by Costa based upon alleged prior

tax filings); (ii) the validity and enforceability of the BV Grill Lease executed by then-husband

and wife sitting on either side of the transaction; (iii) the Trustee’s right to reject the Lease even if

valid; (iv) the flow of funds between the Debtor and BV Grill by prior management and whether

BV Grill owes money to the Debtor or the Debtor owes money to BV Grill12; (v) the sharing of

expenses between the Debtor and BV Grill and whether either party owes the other money based

upon expenses paid by one for the benefit of the other13; and (vi) whether BV Grill was provided

everything it was supposed to be provided under the Lease if valid14 (the “Outstanding BV Grill

Issues”).

         44.      Each of Costa, the Manager and BHI immediately raised with the Trustee the issue

of BV Grill not paying rent pursuant to the BV Grill Lease or otherwise. In turn, the Trustee




12 The books and records that the Trustee has located indicate that BV Grill has never paid rent to the Debtor in
accordance with the BV Grill Lease. However, the accounts of BV Grill and the Debtor were likely comingled and
were always managed by common management. Accordingly, it may require a lengthy investigation and true-up
between the entities to the extent it ever becomes necessary.
13  The Manager (and necessarily, the Trustee) asserts that the Debtor has paid and continues to pay a number of
common expenses, including electricity and other utilities, security, and cable, that should be shared with BV Grill
and for which BV Grill has not and does not pay to the Debtor in addition to rent under the BG Grill Lease. BV Grill
asserts that the Debtor has failed to pay for the guest breakfast service provided by it to the Debtor’s guests at the
Hotel leading to problems with BV Grill’s pastry vendor who has gone unpaid.
14 BV Grill asserts, among other things, that the BV Grill Lease contemplated that it would be able to do business in
a rooftop bar and grill that has not been constructed by the Debtor. The rooftop bar is not referenced in the BV Grill
Lease.
                                                         15
18-22932-rdd         Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06                 Main Document
                                               Pg 18 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

immediately raised the issue with BV Grill and is working to come to an arrangement by which

BV Grill starts immediately paying for its ongoing enjoyment of rights under the BV Grill Lease

while the parties reserve all other Outstanding BV Grill Issues. If the Trustee cannot reach such a

standstill agreement in the immediate future, he will have no alternative but to move for the

rejection of the BV Grill Lease, to the extent it is even valid, and the removal of BV Grill and its

third-party operator from the premises.

         45.      Notwithstanding the validity or invalidity of the BV Grill Lease, the Trustee is

trying to determine in rapid order whether BV Grill provides the most optimal food and beverage

mix for the Hotel, whether any potential investors, plan sponsors or buyers of the Debtor’s assets

will want to inherit the relationship with BV Grill or will want the Debtor or its assets free of BV

Grill, and generally whether any relationship with BV Grill should be continued.

                               3. Insurance

         46.      The Management Agreement requires the Debtor to maintain adequate insurance

for the protection of the Debtor and Manager and the BV Grill Lease requires the same of BV Grill

and further gives BV Grill the obligation to require its third-party manager to maintain proper

insurance and provide proof of same to the Debtor and Manager. The Debtor and Manager have

had significant difficulty obtaining proof of insurance from the Debtor’s prior management and

BV Grill15 but have identified the existence of the following policies:

     Coverage Type        Insurer or Policy         Insured /                Expiration     Policy Limit(s)
                              Number           Additional Insured
 Commercial              American Guarantee    Debtor                    Jan. 16, 2019    $1 million each
 General Liability       ******8619            Manager                                    occurrence; $3
                                               Trustee (Requested)                        million general
                                                                                          aggregate
 Automotive              American Guarantee    Debtor                    Jan. 16, 2019    $1 million
 Liability               ******8619            Manager                                    combined
                                               Trustee (Requested)



15   BV Grill has accused the Debtor and Manager of the same failings.
                                                        16
18-22932-rdd           Doc 43    Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                               Pg 19 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

 Umbrella                Ace Property        Debtor                 Jan. 16, 2019   $125,000,000 each
                         ******1001          BHI                                    occurrence and
                                             Trustee (Requested)                    aggregate
 Workers                 Wesco               Debtor                 Nov. 19, 2018   $1 million each
 Compensation and        ******3531          BHI                                    occurrence and
 Employers’ Liab.                            Trustee (Requested)                    aggregate
 Property                Liberty Mutual      Debtor                 Jan. 16, 2019   $25 million;
                         ******6-018         BHI                                    $25,000 deductible
                                             Trustee (Requested)
 Crime                   Travelers           Debtor                 Jan. 16, 2019   $1 million
                         ******6480          BHI
                                             Trustee (Requested)
 Employment              Hiscox              Debtor                 May 2, 2019     $1 million
 Practices Liability     ******90.18         BHI
                                             Trustee (Requested)
 Excess EPLI             RSUI Indemnity      Debtor                 May 2, 2019     $2 million
                         ******6622          BHI
                                             Trustee (Requested)
 Commercial              Travelers           BV Grill               March 1, 2019   $1 million each
 General Liability       ******1742          Manager                                occurrence; $2
                                             Trustee (Requested)                    million general
                                                                                    aggregate
 Automotive              Travelers           BV Grill               March 1, 2019   $1 million
 Liability               ******1742          Manager                                combined
                                             Trustee (Requested)
 Umbrella                Starstone           BV Grill               March 1, 2019   $2 million
                         ******W170          Manager                                aggregate and per
                                             Trustee (Requested)                    occurrence
 Liquor Liability        Illinois Union      BV Grill               March 1, 2019   $1 million
                         ******2224          Manager
                                             Trustee (Requested)
 Disability Benefits     Standard Security   BV Grill               Dec. 31, 2018   Statutory
 Law                     ******1607          Manager
                                             Trustee (Requested)
 Employment              Hiscox              BV Grill               May 2, 2019     $1 million
 Practices Liability     ******90.18         Manager
                                             Trustee (Requested)
 Excess EPLI             RSUI Indemnity      BV Grill               May 2, 2019     $2 million
                         ******6622          Manager
                                             Trustee (Requested)

         47.        The Trustee has made provisions to ensure that he is listed as an additional named

insured on all of the Debtor’s policies, and he is currently investigating and assessing the adequacy

of existing coverage. Further, the Trustee is trying to ascertain which of the foregoing policies are

subject to premium financing agreements that must be approved and honored post-petition in order

to continue coverage uninterrupted.




                                                      17
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06            Main Document
                                             Pg 20 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

              E. Factors Leading to the Instant Bankruptcy Case

        48.      The reasons for the filing of the Debtor’s involuntary bankruptcy case and ultimate

submission and voluntary request by the Debtor for relief under chapter 11 are numerous. Among

other things, the following factors militated in favor of restructuring pursuant to the Bankruptcy

Code and under the supervision of this Court:

             Maturity of the BHI Loan without extension;

             Nonpayment of vendors and other creditors;

             Inability of Debtor to perform under the Management Agreement;

             Disputes between management and owners (as more fully set forth below); and

             Allegations of impropriety by owners including fraudulent transfers of funds.

        49.      Indeed, there is no shortage of good reasons for the Debtor to be in chapter 11.

However, it is the disputes between alleged owners that necessitated the appointment of the

Trustee.

        50.      To begin, the Petitioning Creditors accused Costa, who had taken control of the

Debtor and Hotel in or around January 14, 2018, of being a “known fraudster” and to having “(i)

deceived and defrauded the rightful owners of the Hotel and its creditors; (ii) transferred estate

funds to his personal account while failing to pay creditors; (iii) changed the names of entities

without authority in an effort to evade and defraud creditors and interest holders (iv) failed to . . .

. obtain a Certificate of Occupancy for the Hotel . . . . ; and (v) . . .[maintained] close associations

with an individual under indictment for securities fraud.” Trustee Motion, ¶1.

        51.      In response, Costa in his declaration dated June 29, 2018 [Docket No. 13] (the

“Costa Declaration”), stated that the involuntary bankruptcy filing “was motivated by an ongoing

interest holder and management dispute,” with “parallel lawsuits, criminal complaints, resorts to

surreptitious transfers and closures of bank accounts” (Id. ¶2) and “by Kerry Wellington, Donald
                                                18
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06            Main Document
                                             Pg 21 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

Wellington, Howard Dean and John Krupa to wrest control over the Debtor’s operations” (Id. ¶4).

Costa also established a website at https://wellingtoninvestments.com dedicated to what he claims

to be the fraud perpetrated by prior management. The website has been taken down in the last two

weeks but the Trustee has copied and preserved its prior contents.

          52.    Dean has also commenced legal actions with respect to the Debtor’s management

and operation of the Hotel in Dean v. NYLO Nyack, LLC, Kerry Wellington, Donald Wellington,

Michael Yanko and John Krupa, Index No. 035388/2017 (N.Y.S. Sup. Ct. Rockland Cty., Nov. 6,

2017), and HD Dev NYLO, LLC v. NYLO Nyack, LLC, Key Real Estate Holdings, LLC

[Holdings], WY Management, LLC, Index No. 033312/2018 (N.Y.S. Sup. Ct. Rockland Cty., June

11, 2018).

          53.    In the Wellington Complaint, the Wellingtons alleged that (i) “Costa stole hundreds

of thousands of dollars in equity” by “fraudulently inducing [Donald] Wellington to transfer his

ownership interest” in the Debtor and Bronxville Debtor (Wellington Complaint, ¶1); (ii)

“[Donald] Wellington contributed millions of dollars in equity and loans to [the Debtor and

Bronxville Debtor]” (Id. ¶7); (iii) Costa made “a series of fraudulent misrepresentations about [his]

wealth and business acumen” (Id. ¶8); (iv) Costa “breached his duties of good faith, fair dealing,

and loyalty as the managing member of [the Debtor and Bronxville Debtor], stole physical property

from the [Hotel], and converted project funds for his personal use” (Id. ¶9); and (v) Costa “forged

documents and signatures,” and “systematically drain[ed] the bank account of BV Grill” (Id. ¶10).

          54.    In the middle of all of the disputes and litigation, Kerry Wellington filed a criminal

complaint against Costa and obtained an order of protection against him on or around June 14,

2018. Upon obtaining the order of protection, Ms. Wellington stayed at the Hotel from around

June 16 to June 26, 2018, and Costa was consequently prevented from entering the Hotel for that

period.
                                                      19
18-22932-rdd           Doc 43       Filed 08/10/18 Entered 08/10/18 11:35:06                 Main Document
                                                  Pg 22 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

           55.      All of these disputes and conflicts rendered it impossible for the Debtor to function

without the appointment of an independent fiduciary. There is no question that at the appropriate

time the Trustee will have to conduct a thorough investigation of the Debtor’s financial affairs to

determine what really happened to the Debtor and its finances.

           56.      Even as of the date of this Declaration, the parties continue their campaign against

one another in the press and elsewhere. John Krupa maintains a website devoted to information

regarding what he contends to be Costa’s fraud (www.therealemc.com). On August 8, 2018, Costa

sent an email to all of the Debtor’s employees asserting his innocence and attempting to prove that

others, including Dean, John Krupa and the Wellingtons, are wrongdoers. Costa also retained

public relations firm Mercury LLC which is assisting Costa in delivering his message to the

press.16

     IV.         INFORMATION REQUIRED BY LOCAL BANKRUPTCY RULE 1007-2

           57.      The following is the information required by LBR 1007-2:

                LBR 1007-2(a)(1) – The nature of the Debtor’s business and a concise statement of the

                 circumstances leading to the debtor’s filing under chapter 11. See Section (III)(E),

                 supra.

                LBR 1007-2(a)(2) – Not applicable. There was no trustee appointed in this case prior

                 to the Trustee.

                LBR 1007-2(a)(3) – Not applicable. There are no known committees formed prior to

                 the Relief Date.



16   On August 8, 2018, Costa’s public relations team sent the following quote to the Journal News (www.lohud.com):
         Despite these fraudulent and defamatory actions by unscrupulous actors, I remain committed to the
         success of both projects and will be submitting a term sheet to the trustee that will pay off every
         creditor in full. I welcome a full investigation of the facts, by law enforcement or the media, but I
         know the truth will come out, likely in court, one way or another. They can play all the dirty games
         they want, but the truth is on my side and I won't back down.” Edgar Costa
                                                        20
18-22932-rdd        Doc 43     Filed 08/10/18 Entered 08/10/18 11:35:06         Main Document
                                             Pg 23 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

           LBR 1007-2(a)(4) – 20 Largest Unsecured Creditors. See Exhibit A.

           LBR 1007-2(a)(5) – 5 Largest Secured Creditors. See Exhibit B.

           LBR 1007-2(a)(6) – Summary of the Debtor’s assets and liabilities. See Sections

            (III)(A) and (C) supra.

           LBR 1007-2(a)(7) – None of the Debtor’s securities are publicly held.

           LBR 1007-2(a)(8) – None of the Debtor’s property is believed to be in the possession

            of any custodian, public officer, mortgagee, pledgee, assignee of rents or secured

            creditor, except to the extent that the Trustee is deemed to qualify as any of the

            foregoing.

           LBR 1007-2(a)(9) – The Debtor owns the premises at 400 High Avenue, Nyack, New

            York 10960 from which it conducts business. The Trustee conducts business from the

            offices of KWJS&S, at 200 West 41st Street, 17th Floor, New York, New York 10036-

            7203.

           LBR 1007-2(a)(10) – The Debtor’s assets are located at its business premises at 400

            High Avenue, Nyack, New York 10960. The Debtor’s books and records, to the extent

            they have been located at the time of making this Declaration, are located at the

            premises, with the Manager and at the Trustee’s offices.

           LBR 1007-2(a)(11) – As discussed above, there are numerous lawsuits by and between

            the Debtor’s various alleged principals, owners and managers. Other than the litigation

            by BT Hotel Operating LLC where a judgment was obtained and filed prior to the

            Petition Date on or around May 11, 2018.

           LBR 1007-2(a)(12) – As set forth above, the Debtor’s management is the subject of

            much dispute and all senior management has been taken over and assumed by the


                                                      21
18-22932-rdd          Doc 43     Filed 08/10/18 Entered 08/10/18 11:35:06                   Main Document
                                               Pg 24 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

                Trustee. The general manager of the Debtor’s Hotel is Anthony Damiano17 and the

                controller is Shyam Mehrotra, both of whom are under the supervision of the Manager.

               LBR 1007-2(b)(1) – The estimated amount of the weekly payroll to employees

                (exclusive of officers, directors, stockholders and partners) for the thirty (30) day

                period following the Relief Date is $120,000.

               LBR 1007-2(b)(2) – The Debtor does not anticipate paying anything to what properly

                qualifies as “senior management” for the thirty (30) day period following the Relief

                Date, but will pay $16,700 to its general manager and controller for that period. The

                Debtor does not have any C-level executives or insiders that draw a salary at this time.18

                The Debtor does anticipate paying the Manager approximately $19,000 for managing

                the Hotel for the thirty (30) day period following the Relief Date.

               LBR 1007-2(b)(3) – Given the timing of filing the Declaration and the Trustee’s

                rapidly coming up to speed, the Trustee respectfully requests that he be excused from

                providing the financial schedule to be provided pursuant to LBR 1007-2(b)(3).

     V.         INITIAL OR “FIRST DAY” MOTIONS

          58.      The Trustee, upon consultation with his proposed professionals, has determined

that a number of Initial Motions were required in order to ensure the seamless operation of the

Debtor’s Hotel and the preservation of value of the Debtor and its estate while the Trustee can

determine the most appropriate exist strategy for the Debtor.




17  The Trustee has reviewed Mr. Damiano’s curriculum vitae. Among other qualifications, Mr. Damiano has over
twenty (20) years of experience as a hospitality professional, was the general manager of the Hyatt House in White
Plains, New York from September 2010 to November 2017, and has held other senior positions in sales for
LodgeWorks, Inc. from July 2004 to August 2010.
18 Upon information and belief, Costa claimed entitlement to a salary of approximately $600,000 per year during his
tenure from January to July 2018.
                                                        22
18-22932-rdd        Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06                    Main Document
                                              Pg 25 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

              A. Cash Collateral Motion

        59.      As part of its Prepetition Collateral package, BHI has an interest in the Debtor’s

Cash Collateral. Prior to the Trustee’s appointment, BHI, the Manager and the Debtor had agreed

to certain terms for the emergency use of Cash Collateral in order to ensure that the Debtor’s

operations were not interrupted while the Trustee was appointed and came up to speed. The

Trustee approved and submitted the agreed emergency cash collateral use order by letter to the

Court dated August 1, 2018 [Docket No. 38], and it was entered by the Court on August 6, 2018

[Docket No. 39]. The authority to use cash collateral will terminate on August 17, 2018 if not

extended by the Court (the “Emergency Period”).

        60.      BHI has cooperated with the Trustee in the Trustee’s efforts to maintain operations

during the Emergency Period and will generally agree to the further use of its Cash Collateral for

a brief, further interim period.19 However, BHI will require as part of any final Cash Collateral

use order the establishment of milestones and deadlines for the Trustee’s sale of substantially all

of the Debtor’s assets or filing of a plan, a deadline for asserting any challenges to the extent,

validity or priority of its liens, and other routine protections. Further, as part of any final order,

the Trustee will require a Carve-Out on account of certain reasonable administrative expenses,

statutory fees of the United States Trustee and “burial” fees in the event the case is converted to

chapter 7.

        61.      The Trustee has filed a motion (the “Cash Collateral Motion”) pursuant to which

he requests entry of interim and final orders: (a) authorizing his use of Cash Collateral on a

continued interim basis following the Emergency Period, which, subject to the Court’s availability




19 The Trustee has filed a proposed Second Interim Order and proposed Budget in good faith believes that subject to
some minor adjustments, they will be acceptable to BHI. However, BHI has not expressly consented to the Budget
or the Second Interim Order at the time the Trustee filed the Cash Collateral Motion.
                                                        23
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06          Main Document
                                             Pg 26 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

for a subsequent hearing, is to be no longer than two to four (2-4) weeks; (b) granting certain

adequate protection to BHI in connection with the use of cash collateral and any diminution in the

value of the BHI’s interest in the Cash Collateral, and (c) prescribing the form and manner of

notice and setting the time for the Final Hearing.

        62.      The Trustee has determined, in the exercise of his business judgment that he

requires the use of Cash Collateral. The Trustee has an immediate and critical need to use Cash

Collateral to pay, in accordance with the proposed budget annexed to the proposed Second Interim

Order submitted with the Cash Collateral Motion (the “Budget”), various parties in the ordinary

course of business and/or as authorized by the Court. Among other things, the continued use of

Cash Collateral will enable the Trustee to continue to operate the Debtor’s Hotel, maintain

relationships with the Debtor’s vendors and creditors, pay the Debtor’s employees, complete

certain necessary repairs and improvements needed to maintain compliance with the Department

of Buildings and continue and temporary certificate of occupancy for the Hotel, and satisfy other

ordinary operational costs that are essential to preserve estate value by continuing to operate the

Hotel in the ordinary course. In the absence of the continued authorization to use Cash Collateral,

the Trustee’s ability to operate the Hotel will be jeopardized, causing immediate and irreparable

harm to the Debtor’s estate, creditors, employees, and all other stakeholders by virtue of the loss

of significant revenue. Thus, the Trustee’s continued use of Cash Collateral is essential in order to

enable the Trustee to pay the Debtor’s ordinary operating costs and expenses during the pendency

of the chapter 11 case.

        63.      Pursuant to sections 361 and 363(e) of the Bankruptcy Code, as adequate protection

of the interests of BHI in the Cash Collateral to the extent of any diminution in value, the Debtor

granted BHI as part of the First Interim Order the following adequate Protection:

           i.    Adequate Protection Liens. Pursuant to sections 361, 363(e) and 364 of the
                                                      24
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06             Main Document
                                             Pg 27 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

                 Bankruptcy Code, and in consideration of the stipulations and consents set forth in
                 the First Interim ORder, as adequate protection for any postpetition Diminution in
                 Value of BHI’s interests in the Prepetition Collateral (including the Cash
                 Collateral), BHI was granted additional and replacement valid, binding,
                 enforceable, non-avoidable, and automatically perfected postpetition security
                 interests in and liens (the “Adequate Protection Liens”), without the necessity of
                 the execution by the Debtor (or recordation or other filing) of security agreements,
                 control agreements, pledge agreements, financing statements, mortgages, or other
                 similar documents, on all property, whether now owned or hereafter acquired or
                 existing and wherever located, of the Debtor and the Debtor’s “estate” (as created
                 pursuant to section 541(a) of the Bankruptcy Code), of any kind or nature
                 whatsoever, real or personal, tangible or intangible, and now existing or hereafter
                 acquired or created, including, without limitation, all cash, accounts, inventory,
                 goods, contract rights, instruments, documents, chattel paper, patents, trademarks,
                 copyrights, and licenses therefor, accounts receivable, receivables and receivables
                 records, general intangibles, payment intangibles, tax or other refunds, insurance
                 proceeds, letters of credit, contracts, owned real estate, real property leaseholds,
                 fixtures, deposit accounts, commercial tort claims, securities accounts, instruments,
                 investment, property, letter-of-credit rights, supporting obligations, machinery and
                 equipment, real property, leases (and proceeds from the disposition thereof), other
                 equity or ownership interests, including equity interests in any subsidiaries and non-
                 wholly owned subsidiaries, money, investment property, and causes of action
                 (including causes of action arising under section 549 of the Bankruptcy Code), and
                 all products, proceeds and supporting obligations of the foregoing, whether in
                 existence on the Petition Date or thereafter created, acquired, or arising and
                 wherever located (collectively, the “Postpetition Collateral”), having the priority
                 set forth in Paragraph 9(b) of the First Interim Order.

          ii.    Priority of the Adequate Protection Liens. Subject to the terms of the First Interim
                 Order, the Adequate Protection Liens shall be junior only to the: (A) the Prepetition
                 Liens, and (B) other unavoidable liens, if any, existing as of the Petition Date that
                 are senior in priority to the Prepetition Liens. The Adequate Protection Liens shall
                 otherwise be senior to all other security interests in, liens on, or claims against any
                 of the Postpetition Collateral (including any lien or security interest that is avoided
                 and preserved for the benefit of the Debtor and its estate under section 551 of the
                 Bankruptcy Code). Subject to the terms of this Second Interim Order, the Adequate
                 Protection Liens shall be enforceable against and binding upon the Debtor, its
                 estate, any subsequently appointed trustee under either Chapter 7 or 11 and any
                 successors thereto.

         iii.    Superpriority Claim. Subject to the terms of this Second Interim Order, as further
                 adequate protection, and to the extent provided by sections 503(b) and 507(b) of
                 the Bankruptcy Code, BHI was granted an allowed administrative expense claim in
                 the Case ahead of and senior to any and all other administrative expense claims in
                 the Case to the extent of any postpetition Diminution in Value (the “Superpriority
                 Claim”).

                                                      25
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06            Main Document
                                             Pg 28 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

         iv.     Priority of the Superpriority Claim. The Superpriority Claim will not be junior to
                 any claims.

The Adequate Protection Liens shall be senior to any other liens, including, without limitation, any

other adequate protection replacement liens. The Adequate Protection Liens shall not be secured

by any avoidance actions under Chapter 5 of the Bankruptcy Code (the “Avoidance Actions”).

        64.      The Trustee does not propose making any adequate protection payments at this

juncture but may request to do so in the future or as part of any Final Order to the extent the Debtor

and its estate have sufficient resources.

        65.      The Trustee respectfully requests that the Court implement a “Carve-Out” from the

Adequate Protection Liens as part of any Final Order. The Trustee proposes that the “Carve-Out”

include (i) the quarterly fees and interest thereon required to be paid pursuant to 28 U.S.C.

§1930(a)(6); (ii) any fees payable to the Clerk of the Court; (iii) all reasonable fees and expenses

incurred by any trustee under section 726(b) of the Bankruptcy Code in an aggregate amount not

to exceed $25,000; (iv) the accrued and unpaid fees and expenses incurred by the professionals

retained by the Trustee or any creditors’ committee (a “Creditors’ Committee”), up to the amounts

provided for in the Budget; provided, however, that with respect to the foregoing clause (iv), such

fees and expenses (A) will only be paid to the extent allowed by the Court; and (B) will be subject

to the rights of BHI and any other party in interest to object to the allowance thereof.

        66.      I have reviewed the Cash Collateral Motion and believe the facts stated therein are

accurate to the best of my knowledge, information and belief. I further believe that the relief

requested in the Cash Collateral Motion is in the best interests of the Debtor’s estate, its creditors,

and all other parties in interest, and will enable the Debtor to continue to operate its business in

chapter 11 without disruption. Accordingly, I respectfully submit that the Cash Collateral Motion

should be granted.

                                                      26
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06            Main Document
                                             Pg 29 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

              B. Authority to Continue to Operate Pursuant to Management Agreement

        67.      The Trustee has filed a motion (the “Management Motion”) pursuant to which he

requests entry of interim and final orders authorizing the Trustee to continue to operate the Hotel

by and through the Manager pursuant to the Management Agreement, without assumption or

rejection thereof. As stated above, the Manager has operated the Hotel since it was opened in 2016

and supervised its construction prior to that point. In fact, the name of the Hotel is the property of

the Manager or its affiliate which the Debtor licenses pursuant to the Management Agreement.

        68.      The Trustee has no viable alternative to operating the Hotel other than with the

Manager pursuant to the Management Agreement. All fees and entitlements that the Manager is

entitled to under the Management Agreement appear to be standard to the industry and reasonable

under the circumstances. Further, the Manager is willing to continue to perform under the

Management Agreement without any agreement on addressing the management fees that it is owed

for managing the Hotel over the last two years.

        69.      The Management Motion also contemplates approval of the current cash

management system of the Trustee pursuant to which both the Manager and Trustee must approve,

by signature, payment by check or transfer of any of the Debtor’s funds in the Operating Accounts.

        70.      For all the reasons set forth in detail in the Management Motion, the Trustee

believes that authority to operate under the Management Agreement is necessary to continue the

operation of the Hotel and maintain the value of the Debtor and its estate for the benefit of creditors

and other stakeholders. Accordingly, the Trustee respectfully requests that the Management

Motion be approved.

              C. Employee Wage Motion

        71.      The Trustee has also filed a motion (the “Employee Wage Motion”), wherein he

seeks entry of an order (a) authorizing, but not requiring, him to pay or cause to be paid, in his sole
                                                      27
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06          Main Document
                                             Pg 30 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

discretion, all or a portion of the amounts owing (and associated costs) under or related to Wages,

the Withholding Obligations, the Reimbursable Expenses, the Health Plan Obligations (all

capitalized terms as defined in the Employee Wage Motion) in accordance with the terms of the

Budget, and (b) authorizing applicable banks and other financial institutions to receive, process,

and pay any and all checks drawn on the Debtor’s payroll and general disbursement accounts and

automatic payroll and other transfers to the extent that those checks or transfers relate to any of

the foregoing.

        72.      The Debtor currently has 48 employees (collectively, the “Employees”). The

Debtor uses a weekly pay period, which runs from Sunday to Saturday. The Debtor pays its

employees on Friday for the preceding Sunday to Saturday pay period. The average weekly total

of the Debtor’s payroll is approximately $30,000.

        73.      It appears that all standard payroll accrued prior to the Relief Date for July 16 to

July 19, 2018 was already paid with the payroll cycle on July 27, 2018 without the Trustee’s

knowledge which totaled approximately $26,084 (the “Pre-Relief Date Wages”). Had the Debtor

not made the unauthorized payment of Pre-Relief Date Wages, the Trustee would be seeking

authority to make the same payment in the Employee Wage Motion because it was absolutely

necessary to the preservation of the Debtor’s business, but instead, the Trustee is seeking

retroactive approval of the payments the Pre-Relief Date Wages already made, nunc pro tunc to

July 20, 2018. The Trustee also seeks approval to pay Employees $2,525 on account of

Reimbursable Expenses incurred in the ordinary course of business prior to the Relief Date. The

aggregate amount to be paid in accordance with the Employee Wage Motion is $28,609 plus a de

minimis amount for medical benefits for the two employees that receive them. No single employee

was or will be paid more than the $12,850 priority cap in section 507(a)(4) of the Bankruptcy



                                                      28
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06          Main Document
                                             Pg 31 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

Code. Further, because those Wages were accrued during the “gap” period, the should be entitled

to a section 507(a)(3) priority not subject to the section 507(a)(4) cap.

        74.      Upon the culmination of each payroll cycle, certain amounts are deducted from each

of the Employees’ paychecks to account for (i) federal, state and local tax withholdings laws and

(ii) pre- and after-tax deductions pursuant to employee benefit plans (described below under

“Employee Benefits”).

        75.      The Debtor is required by law to withhold from the Employees’ wages amounts

related to federal and state taxes, social security and Medicare taxes (collectively, the “Trust Fund

Taxes”), and to remit the Trust Fund Taxes to the appropriate taxing authorities (collectively, the

“Taxing Authorities”). Additionally, the Debtor is obligated to match from its own funds the social

security and Medicare taxes and to remit to the Taxing Authorities, based on a percentage of gross

payroll, additional amounts for state and federal unemployment insurance (collectively, the

“Employer Payroll Taxes” and, together with the Trust Fund Taxes, the “Payroll Taxes”). The

Payroll Taxes on average total approximately $11,600 per pay period.         Upon information and

belief, the Debtor is current on its pre-Relief Date Payroll Taxes obligations, but the amounts paid

on July 27, 2018 for the period from July 17, 2018 through July 20, 2018 constitute unauthorized

post-Relief Date transfers (the “Pre-Relief Date Payroll Taxes”). The Trustee seeks retroactive

approval of the Debtor’s payment of the Pre-Relief Date Payroll Taxes, nunc pro tunc to July 20,

2018.

        76.      Pursuant to the Management Agreement, the Debtor adopts and must use the

Manager’s employee policies and procedures with respect to its employees. Those policies and

procedures provide for the accrual and use of certain sick days, vacation days and other benefits.

The Trustee proposes to keep those policies in place, uninterrupted. Given the relatively short

time that the Debtor has been operating, the Trustee does not believe that any single Employee has
                                                      29
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 32 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

significant accrued sick days or vacation days that would amount in value to more than the $12,850

priority cap in section 507(a)(4) of the Bankruptcy Code.

        77.      If the relief requested in the Employee Wage Motion is not granted, the Debtor’s

relationship with its Employees as well as the Manager’s ability to operate the Hotel would be

adversely impacted and there could well be irreparable harm to the Employees’ morale, dedication,

confidence, and cooperation at a time when the Trustee’s and Manager’s ability to rely on the

Debtor’s employees to assist in achieving the Trustee’s goal of preserving value until an

appropriate exit strategy can be implemented is of the utmost importance. The vast majority of

the Debtor’s employees are hourly wage earners who rely upon their paycheck each week to pay

their living expenses. If employees do not have confidence that they will be paid in the ordinary

course of business, they will seek employment elsewhere. At this early stage, the Trustee simply

cannot risk the substantial damage to the Debtor’s business that would result from the loss of its

Employees.

        78.      I believe that the relief requested in the Employee Wage Motion is in the best

interests of the Debtor’s estate, the Debtor’s creditors, and all other parties in interest and

constitutes a critical element in achieving a successful and smooth transition into a Trustee-

controlled Debtor operating in this chapter 11 case. Accordingly, I respectfully submit that the

Employee Wage Motion should be approved.

              D. Critical Vendor Motion

        79.      The Trustee has also filed a motion (the “Critical Vendor Motion”), wherein he

seeks entry of an order authorizing, but not requiring, him to pay or cause to be paid, in his sole

discretion, certain claims that accrued prior to the Relief Date held by certain critical vendors (the

“Critical Vendors”).



                                                      30
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 33 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

        80.      Upon consultation with the Manager, the Trustee believes that the flow of certain

vital goods and services to the Debtor will be interrupted if he cannot pay Critical Vendors. The

Trustee and the Manager are still engaged in discussions regarding which vendors qualify as

Critical Vendors, but at this time, the Trustee seeks authority to pay certain Critical Vendors as

part of an interim order approximately $31,700.00. The proposed potential payments include: (i)

$8,200 to the Debtor’s carting company which requires payment and will be extraordinarily

expensive and difficult to replace; (ii) $11,100 to Duetto Research Inc., which is a reservation

channel system that the Debtor requires to book guests; (iii) $1,161.70 to Protravel International

LLC for commissions due from Debtor’s largest corporate account that it cannot afford to lose;

(iv) $6,493.43 to Tri State Linen Inc., the Debtor’s linens vendor, which has threatened to cease

delivery and would be prohibitively expensive and disruptive to replace; and (v) $2,057 to

Triptease Inc., which provides a direct booking platform for designer hotels that drives a number

of the Debtor’s guests. While the amount is not substantial to the Debtor’s estate, it is necessary to

pay for practical concerns over whether it would be prohibitively expensive to replace the Critical

Vendors (in the case of the carting and linen companies) or even whether the Critical Vendors can

even be replaced at all (in the case of the booking services).

        81.      The authority to satisfy the Critical Vendors’ claims (the “Critical Vendors

Claims”) in the initial days of the Trustee’s appointment without disrupting business operations

will send a clear signal to the marketplace that the Trustee is willing and, importantly, able to

conduct the Debtor’s business as usual during the pendency of its bankruptcy case, which will aid

the Trustee in preserving the value of the Debtor’s estate.

        82.      Failure to pay the Critical Vendor Claims could materially jeopardize the continued

operations of the Hotel. If the Critical Vendors are unwilling to continue doing business with the

Debtor post-petition due to unpaid prepetition claims, business operations will suffer,
                                                      31
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 34 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

compromising the value of the estate, to the detriment of all parties-in-interest. Even if the Trustee

were able to replace the Critical Vendors, it is unlikely that the new providers would be able or

willing to provide services in a timely manner or on terms as favorable as those currently available.

        83.      I believe that the relief requested in the Critical Vendor Motion is in the best

interests of the Debtor’s estate, the Debtor’s creditors, and all other parties in interest and

constitutes a critical element in achieving a successful and smooth transition into a Trustee-

controlled Debtor operating in this chapter 11 case. Accordingly, I respectfully submit that the

Critical Vendor Motion should be approved.

              E. Professional Retentions

        84.      The Trustee has determined that he must hire general counsel and financial advisors

to assist him in the administration of his duties and has employed KWJS&S and CBIZ,

respectively, subject to the approval of this Court. Both firms have already done a tremendous

amount of work in the first two and one-half weeks since the Trustee’s appointment to get the

Trustee to the point he is at now.

                              1. KWJS&S

        85.      The Trustee selected KWJS&S as his general counsel because KWJS&S has

extensive experience and knowledge in the fields of debtors’ and creditors’ rights, general

corporate law, debt restructuring, investigations, corporate reorganizations, and litigation, among

others. Further, KWJS&S has significant experience in representing trustees and other interested

parties in cases analogous or otherwise relevant to the Debtor’s case in many ways.

        86.      KWJS&S also has specific experience directly relevant to the Debtor’s case.

KWJS&S represented the debtors Alex Hotel and Flatotel, 203-room and 290-room hotels in New

York City, respectively, with related restaurants, in a successful restructuring before this Court

(see In re 205 East 45 LLC, et al., Case No. 12-12208 (ALG)), and currently represents the debtors
                                                      32
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 35 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

in In re 1141 Realty Owner LLC, et al. (see Case No. 18-12341 (SMB)) in connection with the

chapter 11 case of the Flatiron Hotel at 9 West 26th Street, New York, New York.

          87.    Accordingly, the Trustee believes that KWJS&S is well qualified to represent him

as his general counsel in this case.

                              2. CBIZ

          88.    The Trustee requires the services of a financial advisor in connection with the: (i)

preparation of monthly operating reports, statement of financial affairs, statement of assets and

liabilities, and other schedules, as required by the local rules of the Court, and the United States

Trustee’s guidelines; (ii) preparation of a cash flow budget, cash management and distribution of

funds; (iii) performing an investigation and analyses of potential claims and recoveries, including

analyzing transactions with vendors, insiders, former management, and related and/or affiliated

companies, both subsequent and prior to the commencement of the Debtor’s bankruptcy case; (iv)

providing litigation support to the Trustee in connection with litigation that might be commenced

by him to avoid and recover assets of the estate or pursue claims; (v) liquidation or sale of the

Debtor’s business and assets; (vi) management of the Hotel pursuant to the Management

Agreement and related contracts; (vii) preparation of Federal, State, and Local tax returns and

requisite disclosures on behalf of the Trustee and the Debtor’s estate; (viii) reconciliation of filed

proofs of claim and claims against the Debtor’s estate; (ix) preparation of plans of reorganization

or liquidation of assets; (x) preserving and maximizing the value of the assets of the Debtor’s

estate.

          89.    CBIZ had previously interviewed with and been selected by the Debtor as its

financial advisor. However, the Debtor never formally retained CBIZ. Accordingly, CBIZ has

familiarity with the Debtor and its operations, but has no conflict or reason that it cannot serve as

the Trustee’s financial advisor in this case.
                                                      33
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 36 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

        90.      Accordingly, the Trustee believes that CBIZ is well qualified to represent him as

his financial advisor in this case and respectfully requests approval of the retention.

              F. Utilities Motion

        91.      The Debtor has two primary providers of utilities (“Utility Providers”) that the

Trustee is currently aware of: (i) Orange and Rockland, Utilities, Inc., a ConEdison, inc. company

(“O&R”), which provide electricity to the Hotel; and (ii) the Village of Nyack, which supplies

water to the Hotel. The Trustee has learned that the Debtor did not pay for electricity use for at

least four months prior to the July 20, 2018 relief date and O&R has already sent a written demand

for a deposit of $54,230, roughly two months of usage. O&R demanded the deposit by no later

than August 9, 2018, but has agreed to not take any further action pending the hearing on the

Trustee’s motion with respect to Utility Providers (the “Utilities Motion”) and the Cash Collateral

Motion when the required deposit could be considered in the Budget.

        92.      Should any utility company refuse or discontinue service, even for a brief period,

the Debtor’s business operations could be severely disrupted. It is therefore critical that utility

services continue uninterrupted.

        93.      By the Utilities Motion, the Trustee requests entry of an order, which (i) prohibits

the Debtor’s utility providers from altering, refusing or discontinuing utility services on account

of any prepetition amounts owed and outstanding for any utility services rendered, on account of

the Debtor’s bankruptcy filing or because of any perceived inadequacy of the Debtor’s proposed

adequate assurance; (ii) determining that the utility providers have received adequate assurance of

payment for future utility services; (iii) approving procedures whereby the utility providers may

request additional or different assurances beyond that proposed in the Utilities Motion; and (iv)

determining that the Debtor is not required to provide any additional assurance beyond the

assurance set forth in the Utilities Motion.
                                                      34
18-22932-rdd         Doc 43    Filed 08/10/18 Entered 08/10/18 11:35:06            Main Document
                                             Pg 37 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

        94.      The Debtor typically pays approximately $30,000 per month on account of utility

services, and the Trustee intends to pay all post-petition obligations owed to the Debtor’s utility

companies in a timely manner in accordance with the terms of the Budget.

        95.      In addition, the Trustee proposes to provide to any utility provider not currently

holding a deposit a cash deposit in an amount equal to the average cost of one (1) month of utility

service from that utility provider, calculated as an historical average over the past twelve (12)

months, or such other amount as is properly requests like in the case of O&R.

        96.      In the event that any utility provider who is holding a deposit as of the Petition

Date, but that believes it is not adequately assured of future payment based on such existing

deposit, such utility provider may make a deposit request, provided that (a) such request is made

in writing no later than the request deadline; (b) such requesting utility provider does not already

hold a deposit that is equal to or greater than the proposed adequate assurance deposit; and (c) such

requesting Utility Provider is not currently paid in advance for its utility services. The Trustee

will issue a check for the balance between any then current deposit and the adequate assurance

deposit if a timely deposit request is made.

        97.      The Trustee submits that the adequate insurance deposit, together with the estate’s

ability to pay for future utility services in the ordinary course of business, constitutes sufficient

adequate assurance to the utility providers.

        98.      As further detailed in the Utilities Motion, the relief requested pursuant to the

motion is necessary, fair to the utility providers, and in the best interests of the Debtor, its estate

and its creditors.

              G. Tax Motion

        99.      In the ordinary course of its business, the Debtor incurs various tax liabilities,

including, among others, federal, state, and local income, sales, franchise, corporate, occupancy
                                                      35
18-22932-rdd        Doc 43     Filed 08/10/18 Entered 08/10/18 11:35:06           Main Document
                                             Pg 38 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

and excise taxes (collectively, the “Taxes”), including in the case of sales taxes, the obligation to

collect those taxes from customers and turn them over to the proper authority. Prior to the Relief

Date, the Debtor had historically paid or remitted such Taxes to various taxing, licensing, and other

governmental authorities (collectively, the “Authorities”) as they became due. However, as of the

Relief Date, the Debtor had not paid or remitted such Taxes for June or July 2018 totaling

approximately $75,053.00.

          100.    The Trustee filed a motion (the “Tax Motion”) seeking an order (a) authorizing but

not directing the Trustee to pay certain accrued and outstanding prepetition income, sales,

franchise, corporate, excise and other taxes and governmental charges as the Trustee deem

necessary, (b) authorizing banks and other financial institutions to honor and process all checks

and wire transfers related to the payment of such prepetition taxes and governmental charges, and

(c) granting related relief.

          101.    As set forth in the Tax Motion, the Trustee must pay the Taxes, most of which are

at least arguably held in trust for the appropriate Authorities and not property of the Debtor at all.

The failure to pay those Taxes will result in the continued accrual of penalties and interest.

    VI.      CONCLUSION

          102.    The Trustee reserves the right to amend or supplement this Declaration and any of

the information contained herein. As set forth above, the Trustee has held his post for just a little

more than two (2) weeks, and accordingly, while he believes that all of information contained in

this Declaration is true based upon his knowledge, information and belief formed after an inquiry

reasonable under the circumstances, the information may change based upon further investigation

by the Trustee.




                                                      36
18-22932-rdd       Doc 43      Filed 08/10/18 Entered 08/10/18 11:35:06        Main Document
                                             Pg 39 of 44
In re: EMC Hotels and Resorts, LLC, Debtor; Case No. 18-22932 (RDD)
Declaration of Fred Stevens, Chapter 11 Trustee, Dated August 10, 2018

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information and belief.

 Dated: New York, New York
        August 10, 2018



                                                        Fred Stevens




                                                      37
18-22932-rdd   Doc 43   Filed 08/10/18 Entered 08/10/18 11:35:06   Main Document
                                      Pg 40 of 44


                                     Exhibit A

                           20 Largest Unsecured Creditors




                                    Exhibit A-1
                18-22932-rdd                 Doc 43            Filed 08/10/18 Entered 08/10/18 11:35:06                                     Main Document
                                                                             Pg 41 of 44

 Fill in this information to identify the case:
 Debtor name EMC Hotels and Resorts, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):         18-22932                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ZSC NYLO Fund                   Kirk Brett                      EB-5 Finance                                                                                         $8,000,000.00
 LLC
 c/o Duval &                     kbrett@dsllp.com
 Stachenfeld LLP                 (212) 692-5525
 555 Madison
 Avenue; 6th Floor
 New York, NY 10022
 BCG Ritz Trump,                 Marc L. Hamroff                                        Contingent                                                                    $6,500,000.00
 LLC                                                                                    Unliquidated
 Moritt Hock &                   mhamroff@moritth                                       Disputed
 Hamroff LLP                     ock.com
 400 Garden City                 (516) 880-7231
 Plaza
 Garden City, NY
 11530
 BT Hotel Operating              Jonathan Frank                  Judgment for                                                                                         $5,926,934.54
 LLC                                                             breach of contract
 c/oSkadden, Arps,               jonathan.frank@sk
 Slate, Meagher &                adden.com
 Flom                            (212) 735-3386
 Four Times Square
 New York, NY 10036
 Dream Hotel Group,              Laura Mutterperl                Trade                                                                                                  $515,811.39
 LLC
 200 West 55th Street            lmutterperl@dream
 Suite 42                        hotelgroup.com
 New York, NY 10019              (212) 474-9800
 Belfor                          c/o Robinowitz    Trade                                                                                                                $184,433.80
 75 Virginia Road                Cohlan Dubow &
 White Plains, NY                Doherty
 10603
                                 Alan M. Dubow
                                 914-949-2826




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                18-22932-rdd                 Doc 43            Filed 08/10/18 Entered 08/10/18 11:35:06                                     Main Document
                                                                             Pg 42 of 44

 Debtor    EMC Hotels and Resorts, LLC                                                                        Case number (if known)         18-22932
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Orange & Rockland               Jennifer Woehrle                Utilities                                                                                                $85,975.16
 County Light &
 Power
 PO Box 1005                     845-577-3670
 Spring Valley, NY
 10977
 TravelClick, Inc.               Mary Sullivan                   Trade                                                                                                    $51,644.82
 300 N. Martingale
 Road                            msullivan@travelcl
 Suite 650                       ick.com
 Schaumburg, IL                  (845) 575-5000
 60173
 Sentinel                        Robert J Buser                  Trade                                                                                                    $32,775.86
 Management Group,
 Inc.                            Bobbuser@sentine
 96-59 222nd Street              lmgi.com
 Suite 200                       (718) 740-3600
 Queens Village, NY
 11429
 Sabre Hospitality               Jason Sutton                    Trade                                                                                                    $32,767.15
 Solutions
 3150 Sabre Drive                jason.sutton@sabr
 Southlake, TX 76092             e.com
                                 682-605-5876
 Trane U.S. Inc.                 Anna Balkonis     Trade                                Disputed                                                                          $32,259.76
 19 Chapin Road
 Suite 200                       anna.kortier@trane
 Pine Brook, NJ                  .com
 07058                           608 787 4330
 Amtrust North                   Jordan Kokkoris    Insurance                                                                                                             $26,959.00
 America
 5800 Lombardo Ctr.              jordan@kokkorisin
 Cleveland, OH 44131             s.com
                                 (877) 528-7878
 All Phase Electric              Paul White        Trade                                                                                                                  $18,060.81
 Enterprises, Inc.
 75A Lake Road
 Suite 179                       (845) 267-2339
 Congers, NY 10920
 Chandelier - New                                                Trade                                                                                                    $17,500.00
 York                            concierge@chande
 611 Broadway -                  liercreative.com
 Penthouse                       (212) 620-5252
 New York, NY 10012
 Elite Moving &                  Vince Marin                     Trade                                                                                                    $16,255.08
 Storage
 PO Box 384                      vincemarin30@gm
 New York, NY 10027              ail.com
                                 (718) 401-7100




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                18-22932-rdd                 Doc 43            Filed 08/10/18 Entered 08/10/18 11:35:06                                     Main Document
                                                                             Pg 43 of 44

 Debtor    EMC Hotels and Resorts, LLC                                                                        Case number (if known)         18-22932
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Permac Restoration              Lukasz Oleszczak                Trade                                                                                                    $15,500.00
 Inc.
 97 Maple Place                  Permacrestoration
 Yonkers, NY 10704               @gmail.com
                                 (917) 225-2556
 Cvent Inc.                      Ashley Chiu                     Trade                                                                                                    $15,322.34
 1765 Greensboro
 Station Place                   ACHIU@CVENT.CO
 7th Floor                       M
 Tysons Corner, VA               (866) 936-7561
 22102
 Heather Grabin                                                  Trade                  Disputed                                                                          $14,000.00
 38 Independence                 heather@splashpu
 Way                             blicrelations.com
 Jersey City, NJ                 (917) 375-9918
 07305
 Welby, Brady &                  Anthony P.                      Attorney fees          Disputed                                                                          $13,436.47
 Greenblatt, LLP                 Carlucci Jr
 11 Maritime Avenue
 15th Floor                      acarlucci@wbgllp.
 White Plains, NY                com
 10606                           (914) 428-2100
 Express Lighting                Abe Hammerman                   Trade                                                                                                    $12,500.00
 245 48th Street, #2
 Brooklyn, NY 11220              abe@expressivelig
                                 hting.com
                                 (718) 972-1405
 Best Landscape &                Dean Dellolio/Sue Trade                                                                                                                  $11,770.58
 Maintenance                     Hubschman
 PO Box 32
 Blauvelt, NY 10913              bestlandscape@g
                                 mail.com
                                 (845) 398-2181




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
18-22932-rdd        Doc 43       Filed 08/10/18 Entered 08/10/18 11:35:06                  Main Document
                                               Pg 44 of 44


                                                Exhibit B

                                       5 Largest Secured Creditors

     Name and Address of Creditor            Approximate         Collateral and        Known Disputes if any
                                            Indebtedness or          Value
                                               Potential
                                             Indebtedness
 Rockland County                                Not less than   First priority lien   Claim is subject to
 Dept. of Finance                                $362,286.04    on all real           verification but not subject
 50 Sanatorium Road                                             property              to any known disputes
 Building A, 8th Floor
 Pomona, NY 10970

 Charlotte Madigan
 Town Clerk
 Town of Orangetown
 Taxes
 26 W. Orangeburg Rd.
 Orangeburg, NY 10962

 Bank Hapoalim B.M.                           $18,700,000.00    Generally all real    Claim is subject to
 1177 Avenue of the Americas                                    estate, personal      verification but not subject
 New York, New York 10036                                       and intangible        to any known disputes
 Attn: David Fishler                                            property of
                                                                Debtor
 Jared R. Clark
 Marc A. Landis
 Phillips Nizer LLP
 485 Lexington Avenue, 14th Floor
 New York, New York 10017

 Nyack Hotel Fund LLC                          $2,414,152.78    Real property         Claim is subject to
 c/o Zou Singer Capital LLC                                                           verification but not subject
 555 Fifth Avenue, 6th Floor                                                          to any known disputes
 New York, New York 10017

 Kirk L. Brett
 Duval & Stachenfeld LLP
 555 Madison Avenue, 6th Floor
 New York, New York 10022

 BT Hotel Operating LLC                        $5,926,934.54    Real Property by      Judgment filed on or
 c/o Skadden, Arps, Slate, Meagher &                            Judge Lien            around May 11, 2018 and
 Flom LLP                                                                             to the extent valid, is
 Four Times Square                                                                    believed to be avoidable
 New York, New York 10036-6522                                                        pursuant to 11 U.S.C. §547
 Attn: Jonathan Frank
       Mark A. McDermott
       Jeffrey Geier




                                               Exhibit B-1
